     Case 3:13-cr-00276-B      Document 517         Filed 08/06/14     Page 1 of 1U.S. PageID  1519
                                                                                       DISTRICT COURT
                                                                               NORTHERN DISTRICT OF TEXAS
                                                                                          FILED
                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS                             AUG- 6 2014
                                     DALLAS DIVISION
                                                                                CLERK. U.S~i~QCT COURT
UNITED STATES OF AMERICA,                       §                                By        .'"f'.
                                                §                                         Deputy
                                                §    3:13-CR-276-P
v.                                              §
                                                §
FRANCISCO RUIZ (21)                             §
                                                §
                                                §


                    ORDER ACCEPTING REPORT AND RECOMMENDATION
                       OF THE UNITED STATES MAGISTRATE JUDGE
                             CONCERNING PLEA OF GUILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry of a

Plea of Guilty, the Consent ofthe defendant, and the Report and Recommendation Concerning Plea of

Guilty of the United States Magistrate Judge, and no objections thereto having been filed within fourteen

days of service in accordance with 28 U.S.C. § 636(b)(l), the undersigned District Judge is of the

opinion that the Report and Recommendation ofthe Magistrate Judge concerning the Plea of Guilty is

correct, and it is hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty. Sentence will be imposed in accordance with the Court's

scheduling order.

        SO ORDERED.

        Signed this 6th day of August, 2014.




                                                      UNITED STATES DISTRICT JUDGE
